AFFIDAVIT lN SUPPORT OF CRIMINAL COMPLAINT

l, Laura Smith, being duly sworn, state as follows:

INTRODUCTION AND AGENT BACKGROUND

l. I am a Special Agent With the Federal Bureau of Investigation (“FBI”) assigned to
the Boston, Massachusetts Field Oftice. l joined the FBI in 2010 as a forensic accountant
conducting complex financial investigations I am currently a special agent on a squad that
investigates economic crimes, including various forms of corporate fraud, securities fraud and
bribery. I hold a Bachelor’s degree in Crirninal Justice-Economic Crimes Investigation and a
Master’s degree in Accounting. As an FBI Special Agent, l am an investigative or law
enforcement officer of the United States within the meaning of Title 18, United States Code,
Section 2510(7), in that 1 am empowered by law to conduct investigations of, and to make arrests
for, offenses enumerated in Title 18, United States Code, Section 2516.

2. I make this affidavit in support of criminal complaints charging the following
individuals (collectively, “the defendants”) With conspiracy to commit mail fraud and honest

services mail fraud, in violation of Title 18, United States Code, Section 1349:

GREGORY ABBOTT 36
MARCIA ABBOTT 36
GAMAL ABDELAZIZ 83
DIANE BLAKE 169
TODD BLAKE 169
JANE BUCKINGHAM 15
GORDON CAPLAN 22
I-HSIN “JOEY” CHEN 42

AMY COLBURN 193

GREGORY COLBURN 193

ROBERT FLAXMAN 196
MOSSIMO GIANNULLI 88
ELIZABETH HENRIQUEZ 44
MANUEL HENRIQUEZ 44
DOUGLAS HODGE 162
FELICITY I-IUFFMAN 72
AGUSTIN HUNEEUS, Jr. 96
BRUCE ISACKSON 107
DAVH\IA ISACKSON 107
MICHELLE JANAVS 153
ELISABETH KIMMEL 143
MARJORIE KLAPPER 79
LORI LOUGHLIN 88
TOBY MACFARLANE 180
WILLIAM E. McGLASHAN, Jr. 58
MARCI PALATELLA 137
PETER JAN SARTORIO 177
STEPHEN SEMPREVIVO 186
DEVIN SLOANE 129
JOHN B. WILSON 122
HOMAYOUN ZADEH 199
ROBERT ZANGRILLO 118
3. Specifically, as set forth below, I have probable cause to believe that the

defendants conspired with others known and unknown: (l) to bribe college entrance exam
administrators to facilitate cheating on college entrance exams', (2) to bribe varsity coaches and
administrators at elite universities to designate certain applicants as recruited athletes or as other

favored candidates, thereby facilitating the applicants’ admission to those universities; and (3) to

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use the facade of a charitable organization to conceal the nature and source of the bribe
payments

4. The facts set forth in this affidavit come from my personal involvement with this
investigation, interviews with Witnesses, including the cooperating witnesses described below,
and my review of documents_including bank records, flight records, e-rnails, telephone toll
records, cell site data and other materials obtained through grand jury subpoenas and search
warrants_as well as Court-authorized Title III wiretap recordings, consensual recordings made 7
by a cooperating witness, and information provided by other law enforcement agents.

5. In submitting this affidavit, I have not included each and every fact known to me
about this investigation Rather, I have included only those facts that l believe are sufficient to
establish probable cause.

PROBABLE CAUSE

Overview of the Conspiracy

6. Beginning in or about 2011, and continuing through the present, the defendants-
principally individuals whose high-school aged children were applying to college-conspired
with others to use bribery and other forms of fraud to facilitate their children’s admission to
colleges and universities in the Distn'ct of Massachusetts and elsewhere, including Yale
University, Stanford University, the University of Texas, the University of Southern California,
and the University of California - Los Angeles, among others. Evidence I have reviewed shows
that the scheme included the following:

a. Bribing college entrance exam administrators to allow a third party to facilitate
cheating on college entrance exams, in some cases by posing as the actual students, and in others
by providing students With answers during the exams or by correcting their answers after they

had completed the exams;

b. Bribing university athletic coaches and administrators to designate applicants as
purported athletic recruits_regardless of their athletic abilities, and in some cases, even though
they did not play the sport they were purportedly recruited to play-thereby facilitating their
admission to universities in place of more qualified applicants;

c. Having a third party take classes in place of the actual students, with the
understanding that grades earned in those classes would be submitted as part of the students’
college applications;

d. Subrnitting falsified applications for admission to universities in the District of
Massachusetts and elsewhere that, among other things, included the fraudulently obtained exam
scores and class grades, and often listed fake awards and athletic activities; and

e. Disguising the nature and source of the bribe payments by funneling the money
through the accounts of a purported charity, from which many of the bribes were then paid.

Certain Relevant Persons and Entities

7. The Edge College & Career Network, LLC, also known as “The Key,” is a for-
profit college counseling and preparation business based in Newport Beach, California that was
established in or about 2007 and registered in California in or about 2012.

8. The Key Worldwide Foundation (“KWF”) is a non-profit corporation founded in
or about 2012 and based in Newport Beach, California. In or about 2013, the lntemal Revenue
Service (“IRS”) approved KWF as an exempt organization under Section 501(c)(3) of the
Internal Revenue Code, meaning that KWF is exempt from paying federal income tax, and that
individuals who contribute to KWF may deduct those contributions from their taxable income,
subject to certain limitations

9. ACT, Inc. is a non-profit organization headquartered in Iowa City, Iowa that

administers the ACT exam, a standardized test that is widely used as part of the college
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admissions process in the United States. The ACT includes sections on English, mathematics,
reading and science, and is graded on a scale of 1 to 36.

10. The College Board is a non-profit organization headquartered in New York, New
York. Together With Educational Testing Service (“ETS”), a non-profit organization
headquartered in Lawrence Township, New J'ersey, the College Board develops and administers
the SAT, a standardized test that, like the ACT exam, is widely used as part of the college
admissions process in the United States. Between 2005 and January 2016 the SAT was graded
on a scale of 600 to 2400. As of March 2016, the SAT has been scored on a scale of 400 to
1600. The College Board and ETS also develop and administer SAT subject tests, which are
also used as part of the college admissions process.

11. Georgetown University (“Georgetown”) is a highly selective private university
located in Washington, D.C.

12. Stanford University (“Stanford”) is a highly selective private university located in
Palo Alto, California.

13. The University of California at Los Angeles (“UCLA”) is a highly selective
public university located in Los Angeles, Califomia.

14. The University of San Diego (“USD”) is a selective private university located in
San Diego, California.

15. The University of Southern California (“USC”) is a highly selective private
university located in Los Angeles, California.

16. The University of Texas at Austin (“U-Texas”) is a highly selective public

university located in Austin, Texas.

17. Wake Forest University (“Wake Forest”) is a highly selective private university
located in Winston-Salem, North Carolina.

18, Yale University (“Yale”) is a highly selective private university located in New
Haven, Connecticut.

19. The athletic teams of Georgetown, Stanford, UCLA, USD, USC, U-Texas, Wake
Forest and Yale (collectively, “the Universities”) compete in most sports at the Division I level,
the highest level of intercollegiate athletics sanctioned by the National Collegiate Athletic
Association (“NCAA”).

20. Cooperating Witness l (“CW-l”) is an individual who participated in the scheme.
CW-l founded and, together with others, operated The Key and KWF.l

21. Cooperating Witness 2 (“CW-2”) is an individual Who participated in the scheme.
CW-2 was employed at relevant times as the director of college entrance exam preparation at a

private college preparatory school and sports academy in Bradenton, Florida.2

 

1 CW-l has agreed to plead guilty in the United States District Court for the District of
Massachusetts to racketeering conspiracy, in violation of Title 18, United States Code, Section
1962(d); money laundering conspiracy, in violation of Title 18, United States Code, Section
l956(h); conspiracy to defraud the United States, in violation of Title 18, United States Code,
Section 371; and obstruction of justice, in violation of Title 18, United States Code, Section
1512(c). CW-l has been cooperating with the government’s investigation since in or about late
September 2018, in the hope of obtaining leniency when he is sentenced In or about October
2018, after he began cooperating with the government, CW-l alerted several subjects of the
investigation to its existence, resulting in the obstruction of justice charge to which he has agreed
to plead guilty. Information provided by CW-l has been corroborated by, among other things,
Court-authorized wiretaps, e-mails, documents, consensual recordings, and interviews of other
witnesses, including cooperating witnesses

2 CW-2 has agreed to plead guilty in the United States District Court for the District of
Massachusetts to conspiracy to commit mail fraud and honest services mail fraud, in violation of
Title 18, United States Code, Section 1349; and conspiracy to commit money laundering, in
violation of Title 18, United States Code, Section 1956(h). CW-2 has been cooperating with the
government’s investigation since in or about February 2019, in the hope of obtaining leniency
when he is sentenced. Inforr`nation provided by CW-2 has been corroborated by, among other

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22. Cooperating Witness 3 (“CW-3”) is an individual who participated in the scheme.
CW-3 was employed at relevant times as the head coach of women’s soccer at Yale.3

General Background on Standardized Testing and the ColleLAdmissions Process

23. The ACT and the SAT are typically administered to large groups of students on
specified dates and under strict time limits However, students with certain learning or other
disabilities may qualify for extended time. In such circumstances students take the test alone,
under the supervision of a test administrator retained by ACT, Inc. or the College Board.

24. Prior to administering the ACT, test administrators must typically certify that they
will administer the exam in accordance with the ACT Administration Manual, and will ensure
that the “test materials are kept secure and contidential, used for this examinee only, and
returned to ACT immediately after testing.” Similarly, prior to administering the SAT exam, test
administrators must typically certify that they will administer the test in accordance with the
SAT coordinator’s manual, that the SAT is the property of the College Board, and that no one
other than the student can “open the test book and see the test content.”

25. The ACT and SAT exams, and the scores students earn on those exams, are the

intellectual and physical property of ACT, Inc. and the College Board, respectively.

 

things, Court-authorized wiretaps, e-mails, documents, consensual recordings and interviews of
other Witnesses, including cooperating witnesses

3 CW-3 has agreed to plead guilty in the United States District Court for the District of
Massachusetts to wire f`raud, in violation of Title 18, United States Code, Section 1343; honest
services wire fraud, in violation of Title 18, United States Code, Sections 1343 and 1346; and
conspiracy to commit the same, in violation of Title 18, United States Code, Section 1349. CW-
3 has been cooperating with the government’s investigation since in or about April 2018, in the
hope of obtaining leniency when he is sentenced. Information provided by CW-3 has been
corroborated by, among other things, Court-authorized wiretaps, e-mails, documents, consensual
recordings and interviews of other witnesses including cooperating witnesses

26. Most of the Universities require prospective students to submit standardized test
scores_typically, either the ACT or the SAT-as part of their application packages When
submitted, standardized test scores are a material part of the admissions process at each of the
Universities.

27. All of the Universities also recruit students with demonstrated athletic abilities,
and typically apply different criteria when evaluating applications from such students, with the
expectation that recruited athletes Will be contributing members of the Univerities’ athletic teams
once enrolled. Typically, the admissions offices at the Universities allot a set number of
admission slots to each head coach of a varsity sport for that coach’s recruited athletes At each
of the Universities, the admissions prospects of recruited athletes are higher-and in some cases
substantially higher_than those of non-recruited athletes with similar grades and standardized
test scores

28. Student athletes recruited by coaches at USC and UCLA, for example, are
typically considered by designated admissions committees which give consideration to their
athletic abilities, and may admit applicants whose grades and standardized test scores are below
those of other USC or UCLA students, including non-recruited athletes At Wake Forest, as
another example, approximately 128 admissions slots are designated for athletic recruitment, and
recruited students are typically assured of admission to the university provided they meet certain
minimum academic standards Similarly, at Georgetown, approximately 158 admissions slots
are allocated to athletic coaches, and students recruited for those slots have substantially higher

admissions prospects than non-recruited students

29. At each of the Universities, admissions slots, the determination of which students
to admit, and the resulting composition of undergraduate classes are important assets of the
University.

The College Entrance Exarn Cheating Scheme

30. The college entrance exam cheating scheme generally worked as follows:

a. CW-l instructed clients of The Key to seek extended time for their
children on college entrance exams if they had not done so already, including by having the
children purport to have learning disabilities in order to obtain the medical documentation that
ACT, Inc. and the College Board typically require before granting students extended time.

b. Once the students Were granted extended time-which generally allowed
them to take an exam over two days instead of one, and in an individualized setting_CW-l
instructed his clients to change the location of the exam to one of two test centers he told them he
“controlled”: a public high school in Houston, Texas (the “Houston Test Center”) or a private
college preparatory school in West Hollywood, California (the “West Hollywood Test Center”).
For exarnple,' in explaining the scheme to defendant WILLIAM E. McGLASHAN, Jr., CW-l
explained that he needed to “control the center” for the scheme to work, and that by obtaining
“extended time” for the test, McGLASHAN’s son would be able to take the test at CW-l ’s
“facility,” rather than at his own high school. At those test centers, CW-l had established
relationships with test administrators who had agreed to accept bribes to facilitate the cheating
scheme: Niki Williams at the Houston Test Center, and Igor Dvorskiy at the West Hollywood

Test Center.4 CW-l typically instructed his clients to fabricate a reason-such as a bar mitzvah

 

4 Williams and Dvorskiy have been indicted by a federal grand jury in the District of
Massachusetts on a charge of racketeering conspiracy, in violation of Title 18, United States
Code, Section l962(d).

or a wedding_that their children purportedly needed to take the test in Houston or West
Hollywood instead of at their own schools

c. After the location of the exam had been changed, ACT, Inc. and the
College Board sent the exams to those test centers, typically via private interstate commercial
carrier, such as Federal Express (“FedEx”) in the case of ACT, lnc., and United Parcel Service
(“UPS”) in the case of the College Board.

d. CW-l bribed the test administrators to allow a third-party_typically CW-
2-to take the exams in place of the actual students to serve as a purported proctor for the exams
while providing students With the correct answers or to review and correct the students’ answers
after they completed the exams In many instances the students taking the exams were unaware
that their parents had arranged for this cheating.

e. The corrupt test administrators sent the doctored exams back to ACT, Inc.
and the College Board, typically via either UPS or FedEx.

f. CW-l ’s clients paid CW-l between 315,000 and $75,000 per test to
participate in the cheating scheme, with the payments typically structured as purported donations
to the KWF charity.

g. CW-l, in turn, paid Dvorskiy bribes of approximately $10,000 per test to
permit the cheating. CW-l likewise bribed Williams, typically via payments through a mutual
acquaintance, Martin Fox, who introduced CW-l to Williams.5 However, in July 2018, CW-l

sent Williams a $5,000 check directly. CW-l also paid CW-2 approximately $l0,000 to take or

 

5 Fox has been indicted by a federal grand jury in the District of Massachusetts on a
charge of racketeering conspiracy, in violation of Title 18, United States Code, Section 1962(d).

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correct each student’s test. Most of the payments to Dvorskiy and CW-2 were drawn on the
account of the KWF charity.

h. In explaining the scheme to clients, CW-l typically sought to earn their
trust and confidence by noting that he had previously done the same thing many times before
with other families As set forth below, for example, CW-l had the following exchange with
defendant GORDON CAPLAN in a call on or about June 15, 2018 (prior to the time CW-l
began cooperating with the govemment’s investigation), that was intercepted pursuant to a
Court-authorized wiretap: 6
CAPLAN And it works?

CW-l Every time. (laughing)

CAPLAN (laughing)

CW-l Imean, I’m sure l did 30 of them at different, you know, dates because there’s
different dates, and they’re all families like yours, and they’re all kids that

Wouldn’t have perform[ed] as well, and then they did really well, and it was like,

the kids thought, and it was so funny ’cause the kids will call me and say, “Maybe

I should do that again. I did pretty well and if I took it again, I’ll do better even.”

Right? And they just have no idea that they didn’t even get the score that they

thought they got.

Indeed, in many cases, CW-l ’s clients referred other parents to him, or inquired directly about
other parents’ involvement in the scheme. For exa.rnple, as set forth in greater detail below,
defendant AGUSTIN HUNEEUS, Jr., told CW-l , in substance, that he was aware that
McGLASHAN had participated in the college entrance exam scheme, but that McGLASHAN
had not advised his own son of that fact, and that McGLASHAN’s son thus “had no idea that

you helped him on the ACT.”

 

6 Excerpts of Wiretap interceptions and consensual recordings set forth herein are based
on draft transcripts of those recordings

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i. The children of CW-l ’s clients submitted the fraudulently obtained exam

scores as part of their applications to universities nationwide, including Boston College, Boston

University and Northeastem University in the District of Massachusetts.7

The College Recruitment Scheme

31. Between approximately 2011 and 2018, parents paid CW-l approximately $25
million to bribe coaches and university administrators to designate their children as purported
recruited athletes or as members of other favored admissions categories thereby facilitating the
children’s admission to those universities The recruitment scheme typically worked as follows:

a. CW-l told parents, in sum and in substance, that he could facilitate their
children’s admission to certain universities via what he termed the “side door.” He described the
side door scheme as a quid pro quo, pursuant to Which the parents would purport to make
charitable donations to KWF. CW-l, in ttn‘n, would funnel those payments to particular athletic
coaches or to university programs designated by those coaches using KWF to disguise the
nature and source of the payments CW-l typically explained to parents that, in exchange for the
payments the coaches Would designate their children as recruited athletes_regardless of their
athletic abilities-thereby facilitating their admission to the universities

b. CW-l typically explained to his clients in substance, that the scheme was
a tried-and-true method of gaining admission to colleges and that many other families Were
participating or had already participated in it, leveraging connections CW-l had developed at

multiple universities over years of work with prior clients For example, set forth below is how

 

7 ln addition, as set forth herein, e-mails, wire transfers and mailings in furtherance of the
conspiracy were sent to and from the District of Massachusetts, telephone calls in furtherance of
the conspiracy were also made to and nom the District of Massachusetts, and two of the
conspirators have residences in the District of Massachusetts.

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CW-l described the scheme to CAPLAN in the June 15, 2018 call, during which CW-l
represented to CAPLAN that he had successfully engaged in the same scheme with nearly 800
other families:

Okay, so, who we are-- what we do is we help the Wealthiest families in the U.S.
get their kids into school Every year there are-- is a group of families
especially where I am right now in the Bay Area, Palo Alto, I just flew in. That
they want guarantees they want this thing done. They don’t want to be messing
around with this thing. And so they want in at certain schools So I did 761 what I
would call, “side doors.” There is a front door which means you get in on your
own. The back door is through institutional advancement, which is ten times as
much money. And I’ve created this side door in. Because the back door, When
you go through institutional advancement, as you know, everybody’s got a friend
of a friend, who knows somebody who knows somebody but there’s no guarantee,
they’re just gonna give you a second look. My families want a guarantee So, if
you said to me ‘here’s our grades here’s our scores here’s our ability, and we
want to go to X school’ and you give me one or two schools and then I’ll go after
those schools and try to get a guarantee done, So that, by the time, the summer of
her senior year, before her senior year, hopefully we can have this thing done, so
that in the fall, before December 15th, you already knows she’s in. Done. And
you make a financial commitment lt depends on what school you Want, may
determine how much that actually is But that’s kind of how the the side and back
door work.

c. Once parents agreed to participate in the scheme, CW-l sent bribes to
coaches and, in one case, a university administrator, typically out of a KWF bank account. In
some instances he directed the money to the recipients directly, for their personal use, including
one receipient who received bribe payments by mail at his residence in the District of
Massachusetts In other instances he directed the money to designated accounts at the
Universities that were controlled by the recipients including in some instances via mailings from
the District of Massachusetts ln `still other instances CW-l ’s clients made the payments directly
to the designated accounts at the Universities, as directed by the bribe recipients

d. In recruiting coaches to participate in the scheme, CW-l sought to earn
their trust and confidence by making clear to them, as he did to his clients that other coaches
were already engaged in the same conduct with him. For example, set forth below are two

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excerpts from a call on or about May 4, 2018, in Which CW-l sought to enlist the assistance of
CW-3 in recruiting additional coaches to join the conspiracy:

CW-l You can say he’s doing it at, for this year I did [seven elite schools], we’ve
done it everywhere.

CW-3 Okay, see that might, yeah it definitely would make them feel more
comfortable with all those places

CW-3 Okay, alright, and all those Schools, like, you-- you’r -- you’re comfortable.

I can-- I can tell her comfortably that you worked with all those schools
CW-l Absolutely.
CW-3 Huh.
CW-l It’s all different-- it’s all-_absolutely, but it’s all-- it’s different programs at

every school.

CW-3 Right, right, right, I know, I know. But saying that you worked with those
schools I think that makes her feel more comfortable, knowing that you’ve
worked with all the schools before.

CW-l You can tell them I did 760 of these this year, 96 the year before.

e. In exchange for the bribes the recipients designated the children of CW-

l’s clients as purported athletic recruits_without regard for their athletic abilities_or as

members of other favored admissions categories such as “VIP lists” thereby facilitating their

admission to the Universities.
f. As part of the scheme, CW-l , together with others also fabricated athletic

“prof`iles” for students which CW-l submitted to the Universities in support of the students’

applications and which contained falsified athletic credentials_including fake honors the

students had purportedly received and elite athletic teams they had purportedly played on. In
some instances parents assisted CW-l in creating the fabricated profiles including by supplying

staged photographs of their children engaged in athletic activity. In other instances CW-l and

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his associates simply found photos of athletes on the Internet and either used those photos or
used software such as PhotoShop to insert the applicants’ faces onto the bodies of legitimate
athletes F or example, as set forth in greater detail below, CW-l explained to McGLASHAN
that he would create a falsified athletic profile for McGLASHAN’s son, something he told
McGLASHAN he had “already done a million times,” and which would involve him using
“Photoshop and stuff” to deceive university admissions officers

g. As another example, on or about November 13, 2017, CW-l sent a
falsified athletic profile to CW-3. The profile falsely described an applicant as the co-captain of
a prominent club soccer team in southern Califomia. CW-3, in exchange for a promised bribe
payment, designated the applicant as a recruit for the Yale women’s soccer tearn, despite the fact
that, as he knew at the tirne, she did not play competitive soccer. On or about January 1, 2018_
after the applicant was admitted to Yale_CW-l mailed CW-3 a check in the amount of
$400,000, drawn on a KWF bank account. Relatives of the applicant subsequently paid CW-l
approximately $1.2 million in multiple installments including approximately $900,000 that was
directed to KWF as a purported charitable donation.

THE INDIVIDUAL DEFENDANTS

A. JANE BUCKINGHAM
32. Defendant JANE BUCKINGHAM is a resident of Los Angeles Califomia.
BUCKINGHAM is chief executive officer (“CEO”) of a boutique marketing company based in
Los Angeles
33. In or about June 2018, BUCKINGHAM agreed to make a purported charitable
donation of $50,000 to KWF, in exchange for which CW-l arranged to have CW-2 take the ACT

on behalf of BUCKINGHAM’s son at the Houston Test Center the following month.

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34. Thereafter, CW-l made arrangements with Williams to to allow CW-2 to purport

to proctor the ACT for BUCKINGHAM’s son. ln return, CW-l promised Williams that he

would send her money to “go on vacation.”

35. In a call with BUCKINGHAM on or about .luly 10, 2018, CW-l explained, in

substance, that CW-2 would not require all of the extended time BUCKINGHAM’s son had been

granted to take the ACT. The following is an excerpt from the conversation, which was

intercepted pursuant to a Court-authorized wiretap.

CW- 1

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW- 1

Hey there, so l just talked to Niki. So you guys are gonna meet at 8
a.m. in front of the [Houston Test Center].

Okay.

And you’re actually not gonna take the test there you because they’re
doing some re-modeling at the school.

Okay.

But she’s gonna walk you across the street to Tean Southem
University, ’cause it’s right across the Street.

Okay.

And they’re gonna have a classroom all set up for the proctor, [CW-2]
and [your son], and then Niki will take care of the rest.

Amazing, and is it okay if he takes it all in one day?

He’s going to take it one day ’cause [CW-2] is only flying in from
Florida for one day.

There you go that’s--
But on, but on, but on the form it Will say two days
Got it, got it.

So we will document that he took it over two days

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36. After speaking with BUCKINGHAM, CW-l called CW-2 to review the logistics
of the plan for CW-2 to take the exam. CW-l told CW-2 that he would send him a check for
$10,000.

37. In a call on or about July 12, 2018, BUCKINGHAM advised CW-l, in substance,
that her son had developed tonsillitis and that his doctor had advised against allowing him to
travel. BUCKINGHAM asked CW-l whether it would be possible for her to obtain a copy of
the exam that she could have her son take at home_so that he would believe he had taken the
test_while CW-2 took the actual exam on his behalf in Houston. The following is an excerpt
from the conversation
BUCKINGHAM j So I guess my question is look--

CW-l Go ahead.

BUCKINGHAM First of all, he can get on the plane like he, according to him, he’s like,
“I really don’t feel that bad, I think I’m okay.” And 1 do think that this
doctor is a little over conservative Part of my challenge is that my ex-
husband is being incredibly difficult about the whole surgery, and if I
take him to Houston and then he can’t get the surgery he’s gonna be
very annoyed with me. So my question is there is no way for him to not

go and it still to be done, I assume?

CW-l Oh maybe I can do that, but l just don’t-- I have to talk to the proctor [to
make sure she is] fine with doing it.

BUCKINGHAM Right.
CW-l It’s the gal who runs the school.
BUCKINGHAM Right.

CW-l So I have to ask her. I just got off the phone with her, but if, are you
okay with that? And then just--

BUCKINGHAM Well what?

CW-l The score.

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BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

What I would do is I would say to you, can you give me a test for him
to take at home that we proctor him, that I proctor him‘?

Got it, got it. Okay, yeah, I guess we could do we could do something
like that.

I mean that’s just, I guess and it’s the only thing l can think of, if you
think it’s doable?

Yeah, so, the only fact, the only other way is that ACT allows a three
week Window, unlike SAT, Which is a three day window.

Right.

So I just talked to Niki, the gal at [the Houston Test Center], and she is
back on the 25th of July.

It just depends on whether he gets the surgery or not.
I know, I know.
He can’t, he can’t fly for two weeks after that.

Okay, so let me call Niki and ask her if she would have a problem with
[CW-2] just doing this

Yeah.

Which would actually make it easier for him to do it, because it would
take less time, but let me call Niki right now and see what she says

38. Later that same day, CW-l called BUCKINGHAM to tell her that Williams was

willing to go along with BUCKINGHAM’s plan The following are two excerpts from the

conversation
CW-l
BUCKINGHAM
CW-l

BUCKINGHAM

Okay, so here’s the deal.
Okay.
So Niki is is willing to do it.

Yep.

18

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BucKiNGiiAi\/i

CW-l

BUCKINGHAM

We are looking for my, correct, that we are trying to get ourselves like
34 on the ACT?

Yeah, yeah.

So [CW-2] will do that. It’s really-- can be a 33, it could be a 34, it
could be a 35.

Right.

But, so, anyways so the, She said she would do it, she would send us a
copy of the test that we’re gonna take--

Okay.

And then, even though we’re already gonna send in his test, there at
least [your son] will have taken the same test.

Thank you, thank you.

Okay, so your donation is gonna be 50. It’ll it’ll end up being through
our foundation

Okay.

And I’m already sending a check to the proctor today, and to Niki today,
’cause she said, “I gotta have the money first.”

Okay.

I said, “Niki, I have been doing this forever.” She said, “I get it, but this
like, this is crazy.”

Yeah. I know this is craziness I know it is. And then I need you to get
him into USC, and then I need you to cure cancer and [make peace] in
the Middle East.

I can do that, l can do that if you can figure out a way to boot your
husband out so that he treats you well-- you’re treated better--

That’s impossible That’s impossible. But, you know, peace in the
Middle East. You know, Harvard, the rest of it, I have faith in you.

19

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

CW-l

BUCKINGHAM

Got it, got it. Alright, so I will tell [CW-Z] now that he’s just gonna pick
it up [from] Niki, take it, [and] Niki will send us a copy, and then [your
son] can take it sometime next week when he’s feeling better.

Yeah, I mean look, he can take it Saturday, I have no problem with him
taking [it then].

But it’s not an issue with that. It can be anytime he wants

Right, okay, okay.

That’s not an issue, ’cause it has to be sent in from Houston.

And is-- will you send me where and how I should send the check?

Oh yeah, yeah, yeah, yeah. We’ll send it so that you get your [IRS tax]
writeoff.

Oh, even better!

Yeah, it will be, it will be through the, our foundation our 501(c)(3),
and then we’ll send the checks to all the parties

Okay.

And that way you, there’s no, people aren’t saying, “Well, why [did]
you send a check to [the Houston Test Center]?” and da da da.

Righi, right

39. On or about July 13, 2018, CW-2 asked CW-l for a handwriting sample from

/

BUCKINGHAM’s son so that CW-2 could attempt to match his handwriting on the exam. CW-

1 called BUCKINGHAM to request the sample. The following is an excerpt from the

conversation
CW- l
BUCKINGHAM

CW- l

Hey could you get me a handwriting sample?
Yep.
And a signature sample, so that he can kind of get close. Had he not

taken the test before we wouldn’t have to do this but I just want to make
sure we’re close in our writing.

20

BUCKINGHAM Yes. He has not great writing. I’m gonna give you that, but I’m going
to, actually I’m bringing [him] to the doctor right now, so we will sit
down in the waiting room and I will send it to you.

40. Shortly thereafter, BUCKINGHAM sent CW-l an e-mail with the notation,

“Good luck with this.” Attached to the e-mail was a photograph of the following:

tit whtth lt lltt\t Conttni, mt invite m itme yr- fm¢ Lt,iftt?itt Wt ititf JrY/t.
tit/ir itt at itt-f utte"tt/l -
t i`t\tt/?ét`/i

41. CW-2 took the ACT exam on or about July 14, 2018, in his room at a Houston-
area hotel. The next day, CW-l e-mailed BUCKINGHAM, “Test went well.”

42. On or about July 17, 2018, BUCKINGHAM asked CW-l, via e-mail, “[D]o you
think we could get a copy of the ACT for [my son] to take?” Later that same day, an employee
of The Key e-mailed BUCKINGHAM a copy of an ACT practice test.

43. On or about July 18, 2018, BUCKINGHAM wired $35,000 to a bank account in
the name of the KWF charity as a partial payment toward the agreed-upon fee of $50,000.
BUCKINGHAM advised CW-l that she would seek to have her former spouse pay the
remaining 815,000 she owed.

44. BUCKINGHAM’s son received a score of 35 out of a possible 36 on the ACT
exam CW-2 secretly took on his behalf. l

45. On or about October 29, 2018, at the direction of law enforcement agents CW-l
called BUCKINGHAM from Boston, Masschusetts. On the call, BUCKINGHAM said that she
would “probably like to do the same thing with [my daughter] with her ACTs” because she is

“not a great test taker.” BUCKINGHAM said her daughter would not “need to get a 35” to be

21

admitted to her chosen schools “but if she got a 32 or 33, I’m assuming that would make her
pretty competitive.”
B. GORDON CAPLAN

46. Defendant GORDON CAPLAN is a resident of Greenwich, Connecticut and New
York, New York. CAPLAN is an attorney and the co-chairrnan of an international law firm
based in New York.

47. In or about November and December 2018, CAPLAN participated in the college
entrance exam cheating scheme by making a purported charitable donation of $75,000 to KWF,
in exchange for which CW-l arranged to have CW-2 purport to proctor CAPLAN’s daughter’s
ACT exam and correct the answers after she had completed it.

48. In a call on or about June 15, 2018, CW-l explained to CAPLAN, in sum and
substance, how the scheme worked. The following is an excerpt from the conversation which
was intercepted pursuant to a Court-authorized wiretap.

CW-l So here’s the first thing we need to do. And I think I mentioned this to your wife.
We need to get your daughter tested for a learning difference Here’s why. If she
gets tested for a learning difference, and let’s say it’s my person that does it, or
whoever you want to do it, I need that person to get her 100% extended time over
multiple days. So what that means is we’ll have to show that there’s some
discrepancies in her learning, which tliere’s gotta be anyways. And if she gets
100%, Gordon, then, I own two schools I can have her test at one of my schools
and l can guarantee her a score. If it’s ACT, I can guarantee her a score in the, in
the 30s. And if it’s the SAT, I can guarantee her a score in the 1400s. Now, all of
a sudden her test score does not become an issue with all the colleges Because
she’s strong enough. Then, if we clean up her t:ranscript, then her ability, with her
athletic ability and her testing and her getting better at school, it’s much easier to
get her into school, because you’re not fighting huge obstacles at the types of
schools you’re talking about. Now, if we do that, there’s a financial consideration
that you have to pay to the school to get it done, because this is absolutely
unheard of, to make this happen I can make scores happen and nobody on the `
planet can get scores to happen She won’t even know that it happened. lt will
happen as though, she will think that she’s really super smart, and she got lucky
on a test, and you got a score now. There’s lots of ways to do this I can do
anything and everything, if you guys are amenable to doing it.

22

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW- 1

CAPLAN

CW-l

CAPLAN

49.

Okay, so let me let me understand the two components What is the, what is the,
the number?

So the number-- the number--
--At Cornell for instance8

Well, hold on a second. The number on the testing is $75,000. Okay? It’s $75,000
to get any test scores you would like to get on the SAT or ACT. Okay, that’s--

Explain to me how that works

I just explained it to you. You get extended time, you gotta get the extended time
first. Then you’re going to fly to L.A. And you’re going to be going on a fake
recruiting visit. You’ll visit some schools while you’re out here in L.A. And then
on a Saturday, which is the national test day if it’s ACT or SAT, she’s going to sit
down and take the test. I will have a proctor in the room, that’s why, when you
have 100% extended time, you have-- you get to take it at a-- you don’t take it
With everybody else, you get to take it over multiple days And you get to take it
at a-- you can take it at your school or another school. Okay? And then this kid,
’cause she’s taking online classes you have to go somewhere anyway.9 So you
come to my school, take the test on a Saturday, She’ll be in the room for six, six
and a half hours taking this test. My proctor would then answer her questions and
by the end of the day, she would leave, and my proctor Would make sure she
would gets a score that would be equivalent to the number that we need to get.

Okay.

That’s how simple it is She doesn’t know. Nobody knows what happens It
happened, she feels great about herself She got a test a score, and now you’re
actually capable for help getting into a school. Because the test score’s no longer
an issue Does that make sense?

That does

Later that same _day, CW-l had a follow-up call with CAPLAN in which he again

explained, in substance, how the scheme worked, and in particular the need for CAPLAN’s

daughter “to be stupid” when a psychologist evaluated her for learning disabilities in order to

 

8 CAPLAN’s reference to the “number” for Cornell was a reference to the athletic
recruitment scheme, which he also expressed an interest in but ultimately decided not to pursue

9 CAPLAN’s daughter was enrolled at an online high school.

23

obtain the documentation necessary to obtain extended time on the exam. The following are two

excerpts from the conversation

CAPLAN

CW- l

CAPLAN

CW- 1

CAPLAN

CW-l

CAPLAN

CW- l

CAPLAN

CW- l

CAPLAN

Well again, thanks for taking the time earlier today. Look, I’m particularly
interested in working With you guys and figuring out what’s best for [my
daughter]. She’s an interesting kid. I’m sure you’ve seen them all. But this notion
of effectively going in, flying out to L.A., sitting with your proctor, and taking the
exam is pretty interesting

It’s the homerun of homeruns.
And it works?

Every time. (laughing)
(laughing)

I mean, I’m sure I did 30 of them at different, you know, dates because there’s
different dates and they’re all families like yours and they’re all kids that
wouldn’t have perform[ed] as well, and then they did really well, and it was like,
the kids thought, and it was so fi.inny ’cause the kids will call me and say, “Maybe
I should do that again I did pretty well and if I took it again, I’ll do better even.”
Right? And they just have no idea that they didn’t even get the score that they
thought they got.

Right.
Which is great, that’s the way you want it. They feel good about themselves

Yeah, absolutely, and there’s nothing, just ask you directly, there’s nothing that
the schools are concerned about with this or have a problem with?

Schools don’t know. Schools don’t know. That’s why you have to get 100%
time or you have to get 50% multiple days. The only, so the Way it works is if
you get 5 0% time you have to take it at a national test center okay? If you get
100% time you have to find a school that’ll actually give you the test. So, if she
were at a traditional school, she would be taking it at that school. What I do is I
always tell the family, “Oh, you got a bar mitzvah out of town that weekend, so
you found a school to take it at,” and they go take it at our school and then they
come home and they get a score So the key is the testing, and we have to get the
testing so that we show a discrepancy It sounds like she has a discrepancy, but I
need the discrepancies to be significant enough so that we don’t have to appeal
and we can go forward. The fact that she’s in an online school, that may be
helpfill for us as well.

And you work all of that out? You figure that out? Or?

24

CW-l
CAPLAN

CW-l

CAPLAN
CW-l
CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CAPLAN

CW-l

Yeah, absolutely.
And do you ever have a problem getting the 100% time?

Oh yeah, there’s times when we have to appeal because, you know, for whatever
reason You have to understand that College Board and ACT both outsource their
decisions to a committee, ’cause they’re tired of being sued. For, you know, so
they do the outsourcing. So, sometimes you have to re-appeal so that
psychologist that’ll do the testing, will actually write up an appeal. So we’ll do
that, and I also need to tell [your daughter] when she gets tested, to be as to be
stupid, not to be as smart as she is. The goal is to be slow, to be not as bright, all
that, so we show discrepancies And she knows that she’s getting all this extra
time, everywhere that she is right now. At the Academy kids are getting extra
time all the time

You mean the Greenwich Academy?
Everywhere.
Oh, oh you mean at her tennis academy. I see Yeah. Okay.

Yeah, everywhere around the country. What happened is all the wealthy families
that figured out that if l get my kid tested and they get extended time, they can do

better on the test. So most of these kids don’t even have issues but they’re getting
time The playing field is not fair.

No, it’s not. I mean this is to be honest, it feels a little weird. But,

I know it does I know it does But when she gets the score and we have choices
you’re gonna be saying, okay, I’ll take all my kids we’re gonna do the Same

thing. (laughing)
Yeah, I will.

So, how do 1 get this done with you? What do l need to do‘?

So what I need to do is I’m gonna talk to our psychologist, and we may have to
send her to you, or you to her, so that she can get the testing done, I’m gonna talk
to her, because she’s going to a school online, there are forms that have to be
filled out by her teachers that she’s doing online, so we’ll need to send the whole
packet to them. It’s a huge writeup. It’s you know, it’s l don’t know what it is,
it costs like four or five grand to get the report all done and all the testing done
and have, takes two days to get the testing done And it shows all the
discrepancies Here’s the great thing. When she goes to college, she gets to bring
this report with her and she’ll get extended time in all those things in whatever

25

CAPLAN

CW-l

CAPLAN

CW- 1

CAPLAN

CW- l

CAPLAN

CW-l

CAPLAN
CW-l
CAPLAN

CW-l

CAPLAN
CW- 1

CAPLAN

school she goes to, which is huge again She’ll get all the accommodations when
she gets to college as well.

Huh.
Which will be really helpful.
Okay, okay.

So I need to follow up, what I need to do is get your wife to send me her classes
she’s in, her transcript, and then let me then have a discussion with our
psychologist and ask her what she needs to get the ball rolling.

Okay. And how do I ensure that She’s working with you, and, you know, the
people that you want her working With?

So What happens is I think your family already talked to my person who lives in
New York.

Airighi.

[My employee] and she’ll start working with [my employee]. [My employee]
will be aware of everything that’s going on, she won’t say anything ’cause she
knows ’Cause we have a bunch of other New York families that are doing the
same thing. And then what we’ll do is she’ll work on a weekly basis with [my
employee], the testing will be done by the psychologist, and then lastly, I already
got the proctor already set up, He lives in Florida. He actually played tennis at
Harvard and he’ll be the proctor. And then, when we get a score, and get her
grades changed, and she retakes her classes then we’ll figure out how good she
is late spring next year and we’ll go after those schools--

Okay, so what?

--want to get into.

When will the-- so when will she take this extended test?

Here’s the thing, we gotta get her tested, and I gotta figure out if her school will
check the box that, normally it takes four months of getting accommodations but
she doesn’t go to a traditional school, so they should be able to check off the box
without the four months Then we Would take it late fall this year and we would
take it one time and be done

Hmm. And a score of? You would think would be?

The score will be whatever we need it to be.

Got it, okay. I will.

26

50.

During a call with CAPLAN and CAPLAN’s spouse on or about July 5, 2018,

CW-l suggested that they hire a member of his staff to take classes for her, in order to improve

her grades in preparation for her application to college CW-l explained, “We would do them

online and one of my people would take the class for her.” CAPLAN ’s spouse replied that she

had a “problem with that.” At that point, CAPLAN picked up the phone and spoke with CW-l

privately. The following are two excerpts from the conversation

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

51.

CW-l
CAPLAN

CW-l

It’s just you and me. Is that kosher? I mean, can we?

Absolutely, I do it all the time man I do it all the time for families and then we
take college classes for kids you know, online to raise their GPA. Because again,
it’s not, nobody knows who you are ’cause you’re, you don’t take a, there is
nothing that, you know, is filmed When you take your test and everything, that’s
what’s so great about it. So that’s why I asked.

Is, let me put it differently, if somebody catches this what happens?

The only one who can catch it is if you guys tell somebody.

I am not going to tell anybody.

Well (laughing)

(laughins)

Neither am I. And, neither am I. So the only way is if somebody says at [your

daughter’s] school, “Oh by the way, you re-took this class congratulations, you
got an A, blah, blah blah,” she can’t act like, “Really? When did I take that?”

I see, okay.

Later in the call, CAPLAN inquired again about the “ACT thing.”

Yeah, so, you’re getting tested by our psychologist,

Right.

I don’t know what she charges and I, I don’t make any money on this stuff. I
don’t really care about it to be frank with you. The school that she would be

taking the test at, with the proctor, is $75,000 and we get the score we need to get.
It’s one time, it’s done, she can’t, but she has to show up and be there She’ll ask--

27

CAPLAN

CW-l

CAPLAN

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW- 1

CAPLAN

CW-l

CAPLAN
CW-l

CAPLAN

Done, done, not a problem.

She’ll, she’ll think, right, she’ll think she took it. She’ll feel good about herself.
She’ll get a great score and she’ll be like, “Mom and dad, can I. . .” You know
what’s going to happen? She’s going to say, “Dad, can l re-take the test again?
’Cause I think l can do better.” And that happens all the time, right? She’ll get
whatever, and We Will say no, just so you know that.

But it will be somewhere in the 30s

Okay, well look, we are in for the, get her extra time, to the extent we can, extra
time on the test.

Right

And then, and taking the test one time and get her a, you know, a score in the 30s.
Correct.

We are in for that, at 75, not an issue

Done.

Done. The other stuff (laughing)--

That will be up to you guys it doesn’t matter to me

Yeah, I, I hear ya. It’s just, to be honest, I’m not worried about the moral issue
§:rtle’. II}rl:iSy-vprried about the, if she’s caught doing that, you know, she’s finished.

It’s never happened before in twenty-some-odd years The only way anything can
happen is if she--

Someone talks--

Yeah, if she tells somebody. And that’s why even on the payment to the school
thing, nobody, we never tell the, you know, she just needs to know that you’re
gonna get some help on this class

Correct.

She’ll be more than happy.

Oh yeah, I, she, she won"t talk.

28

52.

On or about July 21, 2018, CAPLAN and his daughter flew to Los Angeles to

meet with a psychologist in an effort to obtain the medical documentation required to receive

extended time on the ACT exam.

53.

After twice denying the request, the ACT ultimately granted CAPLAN ’s daughter

extended time on the exam at the request of law enforcement on or about November 6, 2018. In

a call two days later, CAPLAN asked CW-l, in sum and substance whether anyone involved in

the cheating scheme had ever been caught. The following is an excerpt from the conversation

which Was consensually recorded.10

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

So [my daughter] did get the extension Totally unexpected We got it last night.
Really?

Yeah.

That’s cool. Cool.

Yeah. And you were right. I mean, it Was like third time was the cha.rm. So
everybody Was telling us there’s no way, and then all of a sudden it comes in
through [her school]. So, again and-- keep in mind I am a lawyer. So I’m sort of
rules oriented. Doing this with you, no way-- she’s taking the test. It’s her taking
the test, right‘? There’s no way--

So--

-- any trouble comes out of this nothing like that?

Okay. So-- so norrnally-- so let me-- [I] explained this to you before and--

Yes and I-- andI apologize It’s just--

No, no. I get you.

Bear with me

 

10 By the time of this conversation CW-l was cooperating with the govemment’s

investigation

29

CW-l

CAPLAN
CW-l
` CAPLAN
C_W-l
CAPLAN

CW- 1

CAPLAN
CW- 1
CAPLAN
CW- l
CAPLAN
CW- 1
CAPLAN

CW-l

CAPLAN

CW-l

Okay. So I’m going to-- l’ll explain to you the process and you get-- you get to
decide the process Okay? So what normally happens in our case is I’ll call [CW-
2], who’s our proctor, and I’ll call Igor, who’s the principal of [the West
Hollywood Test Center] and I’ll say, “Okay, what dates are you available?”
Because, my guess if you’re taking the ACT, our next test date is between
December 8th and we have two weeks to take the test. Is that what the letter says?
That’s a good question

lt should, but just call it that it is Okay?

Okay.

All right. I’ll--

And I could-- I could forward it to you, too.

Okay. That’s normally the case So then-- so what happens is is then you guys
have already registered for the December 8th test at a national test center, correct?

I believe so, yes

Okay. So then what happens is I need the ticket that--

And your-- I’m sorry. Your e-mail is [E-MAIL ADDRESS REDACTED]

It’s [E-MAIL ADDRESS REDACTED].

Yeah. At Gmail, right?

Yes. [E-MAIL ADDRESS REDACTED].

Okay. Just sent it to you.

Okay. So-- so what normally happens is you’ll send me the ticket and then I will
give it to Igor. Igor will do the paperwork so that the test center is moved to the
[West Hollywood Test Center]. Okay?

Okay. Okay.

So then what’ll happen is instead of wherever she was going to take the test,
it’ll-- now a test will show u -- usually the Wednesday before the 8th, at [the
West Hollywood Test Center]. Then what’ll happen is [CW-2], who is the
proctor, will fly in and he will show up on Friday night, just like you guys would

show up on Friday night, and then on Saturday morning at 7:45, 8 o’clock, you
guys Will show up at the school, Which is on [LOCATION REDACTED]. And

30

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

then what’ll happen is you’ll go in, [CW-2] will be your proctor. And so this is--
this is again how it all works She’ll take the test. It’ll be all her taking the test
and then at the end of the test, it would be decided that We want to score, let’s say,
33,so that she never has to take the test again It’ll be one and done, Then she’ll--
you guys Will leave and then [CW-Z] Will then look at all of her answers Because
her answers will be put on a separate sheet of paper and then [CW-2] will go
through the answers and willfigure out on all four of the-- there’s five sections
The fifth is writing On all four sections and he will decipher her answers an --
and he will go back and-- and ensure that he makes it so that her score ends up
being between a 32 and 34, just depending on the curve for that particular test
day. And normally he’s right on. And that is essentially how it would happen

And has anybody ever gotten into an issue with this‘?

Nobody. We’ve done this for fouror five years and had probably 20-plus people
do it. So-- but that’s the process

Never been an issue?

Never been an issue So the decision here is yours I’m-- I’m not-- I don’t want to

influence you in any way. It’s totally up to you guys however you guys want to
do this

And do othe -- are you guys the only ones who do this or--?

Based on what I know. I only know myself and the families that we work with.
And so, you know, we have lots and lots of families Not everybody gets extended
time Not everybody gets extended time with multiple days So there’s lots of
people who cannot do it and then there’s lots of people that do do it. So it’s kind of
all in your comer. But now-- you understand the process now.

I do.

So that, it’s really simple and easy, and it’s-- it’s up to you to decide one way or
another. And it doesn’t matter to me Whatever you guys want to do.

No, I understand that, [CW-l]. I-- I appreciate that and I-- I appreciate the candor
here, and the directness Okay. Give me a little bit to think about it and I will be
back to you on it tomorrow. You-- you obviously need to firm this up right away,

right?

Yeah, because we’ll need to get the $25,000 wire and then I need to call [CW-2]
and Igor to see-- to make sure they’re available My guess is you guys are
available on the 8th because you guys were going to take it on the 8th anyways

Yeah. We’ll just make ourselves available

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54.

On or about November 13, 2018, CAPLAN wired $25,000 to a bank account in

Boston, Massachusetts in the name of the KWF charity that, unbeknownst to CAPLAN, CW-l

had opened at the direction of law enforcement agents CW-l had previously advised CAPLAN

that the $25,000 would be a “deposit” to reserve the services of CW-2, Who CW-l said was his

“best test-taker” and could “nail a score-- he’s that good.”

55.

On or about November 15, 2018, CAPLAN called CW-l about changing the

location of the test to the West Hollywood Test Center, and again inquired whether anyone “has

ever gotten in trouble with this?” The following is an excerpt from the conversation which was

consensually recorded.

CW-l

CAPLAN

CW-l

CAPLAN

CW- l

You got my-- you got my e-mail?

I did and, that’s sort of what I’m responding to, and part of the reason why I’m
taking [my spouse] off of this [My spouse is] very nervous about all this and I
just - I want to have a-- if we make this change, does that create some sort of
suspicion or issue? They say, “Why the hell is somebody living in Greenwich
taking it out in California?”

Good point. Good point. So norrnally-- so anybody-- you know, for-- all of the
kids that have taken the [test] Some live somewhere else They always-- and
essentially if anybody were t -- to ask, essentially, “We’re goingto a-- a bat
mitzvah,” or, “We’re going to a wedding. We’re going to be gone that weekend.
That’s the weekend we’re going to take the test.” In your case, for your daughter,
because she goes to a-- an unorthodox school, notyour typical-- you know, brick
and mortar kind of place, it’s simple, because she could be playinga tournament
there, we’ve got to take the test. Anything. But nobody ever asks them. But to--
you have to do this to be able to move the test from where it’s located. Plus, when
you did your original ticket, I believe you didn’t have the time

No, we didn’t.

Right. So now you got to go to a place that will actually administer and proctor
the test for you. Because the place that you would go on that national test center
date, they could not do that at that center, because they don’t-- they have to have
somebody special be a proctor, to go into a room-- a special room. But that’s why
they don’t give those, with those kind of accommodations at a national test center.

32

CAPLAN

CW- 1

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

[Let me] ask you straight up. You’ve never had an issue with this? No one has
ever gotten in trouble with this?

I’ve never--

Um--

--had an issue with anybody. We’ve done this you know, probably 20 times plus
We did it this summer, because, you know, they moved the ACT, they offered a
July test date in Califomia. You couldn’t take it in California so w -- we weren’t a
test center forthe-- the summer, so a young person had to go to Houston to do it.
We just did it for the subject test for a-- actually a girl that lives both in New York
and Aspen So nothing-- nothing to this point has happened.

Could you ever see that happening?

l-- I’m not-- I have never seen it happen The only-- so what happened is they
changed the test form so that’s why Igor got confused, because the form is
different for this new school year, So that’s why we called ACT, to say, “Okay,
what’s the simplest way to do this because she already had a regular ticket, not an
accommodations ticket, and this is exactly what they told us on the phone

But what I’m-- what I’m asking is is there any way for this to get back to [my
daughter] or to the family? Imean, this comes out-- I-- I don’t even want to know
what you guys do.

So the-- so here-- again let me just-- I’ll just go retrace again When [your
daughter] takes the test, on the 8th, she’s going to take the test like she’sregularly
taking the test, but she will take it, [CW-2] will be there [CW-2] can answer any
questions that she has But [CW-Z] will proctor the test. She will have all the time,
she’ll use her computer. She will think when she’s done with the test she has taken
the test. No doubt about it. The difference is-- is that what we’ll do is instead of
her bubbling into the test, which we do with all kids who have leaming
differences is they bub-- they write their answers on a separate sheet to the side of
it, so that we can rebubble, so we don’t screw up the bubbling, which happens a
lot for kids Because they screw up their bubbling. And then she’ll-- she’ll leave at
the end of the test time Whichl don’t know Who’s going to take her. And then--

I will. I’ll be there

Okay. And you’ll-- you’ll meet [CW-2] and Igor, and you’ll-- you’ll go your own
way. [Your daughter] will go in and take the test. She’ll be the only one, taking it
in the room with-- with [CW-2]. She will take the test, She will walk out the door.
At the end of it she’ll say to you, “Dad, it was so hard,” or “I’m so tired,” or
whatever the typical reaction outof the kid, Then [CW-2] will finish the exam. He
will then take the exam and look at her-- what she’s done, and then ensure that

33

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

cW-i

CAPLAN

CW-l

CAPLAN

56.

whatever score we decide that we want to get-- he has it down to a-- unbelievable
that he can do it. Get that number based on the four sections She’ll do the
computer writing of the essay herself. 'l`hat’ll be all her. He can help her if she
wants some guidance [inaudible] approach. But other than that, that will be all her
writing And she will sign it and she’ll walk out of there and she will never know
that this actually occurred. You will get your results back in you know, anywhere
from, ll-- depends on what dayit goes back in But anywhere from 11 to 20 days
And she’ll get her results and she’ll say, “Oh, my God, Dad, l got a 33 !”

So she’s been taking Logic Prep and has been getting-- l think her highest score so
far is a 22, and she’ll probably get up to a 24 on her next practice test. The fact that
this could be different than What She had been showing on the practice test--

Wha -- so you tell me if you wan -- Would [you] prefer to have her get a 28? 27?
28? 29? Probably based on what you’re just telling me right now, right, that--
maybe that’s a better approach, because that’s still a very good score with her
abilities and disability but--

Well, l-- I’m thinking 30, 31 is all we need to do here

Okay. Done deal. Done deal. lt’ll be-- it’ll be 30, 31. So what happens is the test is
curved. l don’t know if you know that. The test is curved against everybody in the
country. So it can-- we can be one question off, or two questions off, and it can

be a 30,it can be a 31. lt may be a 29. lt could be a 32. Just depends on the curve
of the day. But it’ll be-- it’ll be right there

But what I’m asking you is will that be anissue? So when Logic Prep asks us
well, how did she score,will they say, “Hmm?”

So - well, I don’t think it matters What they say, because at the end of the day she
had a great day, they get credit for her doing really well and they have nothing to
do with ACT and/or the colleges she’s going to apply [to].

And they don’t feel incumbent on them to say this is suspicious?

Well, l don’t see why they would. lt would only be a success story for them.l
Okay. Okay. l will send out the e-mail and I will send you what l get back.

On or about December 6, 2018, two days before the ACT exam, CAPLAN and

CW-l spoke again The following is an excerpt from the conversation which was consensually

recorded.

34

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

CW-l

CAPLAN

When will we know the score?

Normally, you know, the score, between-- it could be, in ll days or it could be in
20 days lt depends on-- so what normally happens is Igor sends everything in on
Monday. And because they’re giving the test nationally as long as the test is in by
Wednesday, then usually you get scored with everybody else in the country,
because everybody has to have-- from their test centers-- have to have their tests
back. And then normally you get your scores back in anywhere from 11 to 20
days And there’s been times when it’s takenas much as 30 days but that would
be because there’s an issue across the country, not because of anything that
happened with her.

And the score we’re hoping for here is, we’re really hoping for, is a 32, ls that
what we discussed?

You tell me Whatever you think we want to have And we Will get within one
point. So if you say 32, it’ll be either 31, 32, 33. If you say you want 31, it’ll be
30, 31, 32. lt just depends on the curve of the test for that day.

Yeah, I-- I don’t want it to be higher than a 32.

Okay. So--

It’s just-- it’s just going to be hard to justify in light-- light of-- [CW-l] look--
No, I t--

l, this is all ahope, right? What she-- what we hope she can do.

Right.

We hope she can get a 32 or pretty close thereto.

Got you. So can l just-- I want to clarify. So she’s going to take the test on her
own she’s goingto do her best, all that stuff, and then we’re going to do our
magic on the back end.

You’re going to-- you’re going to do what you do.

Okay, all right, I just want to make sure that the -- I just want to sure that we’re all
on the same page That essentially, that’s why I know l can get a 31, 32, you
know, so we’re going to aim for 31, so that if we go 30 or 32 we’re safe, how’s

that?

l think that’s fine

35

CW-l Okay, l--

CAPLAN l think that’s fine, l-- I’m just, uh, uh, uh,uh, uh, [CW-l], you understand m --

CW-l l totally get it.

CAPLAN And you are absolutely confident there is no issue here

CW-l We’ve been doing this for a long time Luckily she’ll be the only one taking the
test, on Saturday, Sometimes there’s multiple kids So all l can do is just tell you
that [CW-2] will fly in from Florida. He is an expert at getting within-- it just
depends on one-point standard deviation on the -- whatever the curve is. lgor does
his part. He signs off. He’s the site coordinator. Nobody’ll be there but you guys
And that’ll be it. And l, you know, I’ve never even been there, l--

CAPLAN Igor has never had an-- Igor has never hadan issue? He has no bleniishes on
anybody?

CW-l No. No issues at all.
CAPLAN Okay.

57. On or about December 8, 2018, law enforcement agents observed Dvorskiy arrive
at the West Hollywood Test Center at approximately 7:05 a.m. CAPLAN and his daughter
arrived approximately ten minutes later, and Dvorskiy, CAPLAN and CAPLAN’s daughter went
inside the building. At approximately 7:21 a.m., CW-2 entered the West Hollywood Test
Center, At approximately 7:31 a.m., Dvorskiy and CAPLAN walked out of the building and had
a brief conversation At approximately 11:52 a.m., CAPLAN’s daughter left the West
Hollywood Test Center, met CAPLAN, and drove away.

58. On or about December 20, 2018, CAPLAN wired an additional $50,000 into the
KWF bank account in Boston.

C. GREGORY ABBOTT and MARCIA ABBOTT
59. Defendants GREGORY ABBOTT and MARCIA ABBOl'l`, a married couple

(collectively, the “ABBOTTS”), are residents of New York, New York and Aspen, Colorado.

36

GREGORY ABBOTT is the founder and chairman of a packaging company for the food and
beverage industry, and the former chairman and CEO of a private-label clothing manufacturer.

60. As set forth below, in or about April 2018, the ABBOTTS made a purported
charitable donation of $50,000 to KWF, in exchange for which CW-l arranged to have CW-2
purport to proctor their daughter’s ACT, and correct her answers after she had completed it.

61. In or about March 2018, MARCIA ABBOTT e-mailed CW-l her daughter’s ACT
registration form and admissions ticket, in preparation for her daughter to take the ACT at the
West Hollywood Test Center.

62. On or about April 9, 2018, CW-l ’s accountant e-mailed GREGORY ABBOTT an
invoice for $50,000, with a note thanking him for his “generous donation to the Key Worldwide
Foundation.” CW-l was copied on the e-mail, and later forwarded it to MARCIA ABBOTT.

63. Three days later, $50,000 was wired from a brokerage account in the name of the
Abbott Family Foundation to a bank account in the name of the KWF charity. That same day,
GREGORY ABBOTT left CW-l a voicemail stating, in substance that he had sent the wire

64. On or about April 13, 2018, CW-Z flew from Tampa, Florida to Los Angeles
Califomia. The following day, the ABBOTTS’ daughter took the ACT at the West Hollywood
Test Center. CW-2 purported to proctor the exam and, after the ABBOTTS’ daughter had
completed it, corrected her answers On or about April 15, 2018, CW-2 returned to Florida.

65. On or about April 17, 2018, at CW-l ’s direction KWF paid Dvorskiy $20,000,
representing $10,000 for the ABBOTTS’ daughter and $10,000 for the son of I-HSIEN “JOEY”
CHEN, who took the ACT at the West Hollywood Test Center at the same time as the
ABBOTTS’ daughter, as set forth below. On or about May 14, 2018, KWF paid CW-2 $20,000,

representing $10,000 for each of the two students

37

66. The ABBOTTS’ daughter received a score of 35 out of a possible 36 on the exam.

67. On or about June 6, 2018, MARClA ABBOTT called CW-l to inquire in

substance whether CW-l could arrange for someone to take SAT subject tests for her daughter.

The call was intercepted pursuant to a Court-authorized wiretap. CW-l replied, “[GREGORY

ABBOTT] would have to be willing to pay for it.” MARCIA ABBOTT responded, “Yeah, well

he can donate, I mean whatever the donations are.”

68. On or about August 3, 2018, MARClA ABBOTT called CW-l to inquire in

substance how cheating on the subject tests would work. The following is an excerpt from the

conversation

MARCIA ABBOTT

CW-l

MARCIA ABBOTT

CW-l

MARCM ABBOTT

CW- 1

MARCIA ABBOTT

What is the situation with subject tests? ls it basically the same that
happened with the SATS?

Yeah, it’s a little more a little more expensive because now you gotta
have somebody which, you gotta make sure that you do well on both
of those areas It’s not like the SATs They’re much harder.

Yeah, well they’re very specialized, and for her she was gonna take
Math II and English Lit.

Right, so if we have somebody help her, l have to get, I have to figure
out who that’s gonna be that’s gonna be able to take care of both of
those

Alright, she loves the guy [CW-2] who took the SATs she said, She
said she started having heart palpitations but she said he was so sweet,
he let me walk around the hallway. She said, “Can’t 1 take my SAT
subjects with him?” And I said, “Nah, l don’t think so. l mean Ithink,
you know, you just, it’s whole different area and that was ’cause we
happened to be out in California seeing schools So you know we’re
gonna take them here.” So, alright, so there’s no way for [August]
27th. Then 1 guess we should take them here down [in the Aspen area]
on the 27th and let’s see how she does

Absolutely, absolutely,

And what would be the donation be for, if you foun'd someone for
October? Because the other one was what, $50,000?

38

CW- 1

MARCIA ABBOTT

lt Was l think it was 50. lt will be at least 75.

Yeah, that’s fine

69. In a call on or about September 4, 2018, MARCIA ABBOTT told CW-l, in

substance that she wanted to proceed with the cheating scheme for the SAT subject tests because

her daughter did not think she had done well on the tests she had taken on her own The

following are two excerpts from the conversation

MARCIA ABBOTT
CW-l

MARCIA ABBOTT

CW-l
MARCIA ABBOTT
CW-l
MARCIA ABBOTT

CW-l

MARCIA ABBOTT
CW-l

MARCIA ABBOTT

CW- 1

MARCIA ABBOTT

Can your people can cover the math and lit?

Yes, if they’re available that weekend.

If so, yes October 6th. So l guess they give a mix alright. Well, let’s
see how she does She’S convinced that she bombed the lit because she
was too tired, so And [Duke University] told us they didn’t want
anything below a 750.

That’s right.

lt doesn’t, it doesn’t add to her resume

That’s correct because yeah well, she would have--

Yeah.

Good thing that she did this for the ACT, ’cause her score was not
exceptional.

What? Excuse me what’d you say?

I said it was a good thing that we did it for the first test,

Oh yeah, my gosh, l mean I’m sure her, you kidding me? She was
gonna throw up like every single drug in the world for mono and lyme
[disease]. I’m sure it was a disaster.

She got, she got a 23.

Yeah, that would be what l would have guessed at, 25, you know. So

yeah, I mean yeah, l don’t know, We’ll see how she does on the math.
But she herself even says she doesn’t have high hopes for English Lit.

39

MARCIA ABBOTT

CW-l

MARCIA ABBOTT

CW- 1

MARCIA ABBOTT

CW-l

MARCIA ABBOTT

CW- 1

MARClA ABBOTT

CW-l

MARCM ABBOTT

CW-l
MARCIA ABBOTT
CW-l
MARCIA ABBOTT
CW-l

MARCIA ABBOTT

Yeah, so do you think we should do it now then this week?
l have to, l have to ask the person in Houston if she’ll do it.
Oh, so it’d be in Houston.

Yeah, because the person the person who’s gonna be the proctor is
based in half the time Somewhere across the country.

Yeah alright, well l rather do, I rather go for it then Because you
know what, even she gets like a 740, 730 on her math, she still needs
to get higher.

Okay, well I’ll talk to the person in Houston tomorrow and see and
the proctor, and see if they’re available

Okay, great. And that’s your only one in the country?

Nobody in the country even has one.

Okay, no, l just wanted to know if they’re not available if for some--
That this is like, nobody, nobody can do this

And if they’re not available then that’s it? There’s just, there’s just one
person?

Well then we can do it in November if they’re available

And November’s not too hard [or] late for early [action]?

Not if it is what it is she’s not getting into any schools without them.
Yeah l know,

So.

Okay, well let’s see Let’s see What we can do.

70. On or about September 13, 2018, the Abbott Family Foundation made a purported

donation of $75,000 to the KWF charity.

71. ln a call with MARCIA ABBOTT on or about September 28, 2018, CW-l

confirmed that the SAT subject tests would occur at the West Hollywood Test Center, and also

40

discussed the scoring of the tests CW-l said, “We’ll get 750 and above,” to which MARCIA
ABBOTT replied, “That’s fabulous.”
72. On or about October 5, 2018, CW-l called MARCIA ABBOTT at the direction of

law enforcement agents The following is an excerpt from the conversation which was

consensually recorded.

CW-l Did you guys get to L.A.?

MARCIA ABBOTT We did. We just checked in We got on the last flight out of Aspen last
night.

CW-l Congratulations. So I’m in Boston today, but Ijust wanted to make

sure everything was cool. l know [CW-2] has already gotten there to
proctor the test. lgor will be there in the morning, so everything should
go smoothly. So l just wanted to make sure you-- everything’s cool

with you guys.

MARCIA ABBOTT Fabulous. Yeah, everything’s fine lgor’s the one who proctored her
before? Or was it [CW-Z]?

CW-l No, [CW-2] did. Igor will be, the person-- he’s the test administrator
for the school.

73. On or about October 6, 2018, law enforcement agents observed Dvorskiy arrive at the
West Hollywood Test Center at approximately 7:28 a.m., with MARCIA ABBOTT and her
daughter arriving approximately 15 minutes later.

74. In a call on or about October 8, 2018, which was consensually recorded, CW-2_
who was not cooperating with the govemment’s investigation at the time_told CW-l that he
believed he had scored “800 on the math” and between 700 and 800 on the literature test.

75. ln a call on or about October 18, 2018, CW-l discussed the SAT subject tests
with GREGORY ABBOTT. ln the call, CW-l advised GREGORY ABBOTT, in substance that

“it was a good move” for him to pay $75,000 to have CW-2 take the exam for his daughter.

41

GREGORY ABBOTT then inquired how his daughter would have scored in the absence of
cheating. The following is an excerpt from the call, which was consensually recorded.
GREGORY ABBOTT Do you know how she did on her own?

CW-l Do I know how she did on her own? Yeah, Ido. She scored in the
mid-600s

GREGORY ABBOTT Yeah.

76. Ultimately, the ABBOTTS’ daughter received a score of 800 out of a possible 800

on the math subject test and 710 on the literature subject test.
D. l-HSlN “JOEY” CHEN

77. Defendant l-HSlN “JOEY” CHEN is a resident of Newport Beach, Califomia.
CHEN operates a Torrance, California-based provider of warehousing and related services for
the shipping industry.

78. As Set forth below, in or about April 2018, CHEN paid $75,000 to CW-l ’s for-
profit entity, The Key, in exchange for which CW-l arranged to have CW-2 purport to proctor
CHEN’s son’s ACT, and correct his answers As noted above CHEN’s son and the ABBOT'I`S’
daughter both took the exam on the same day at the West Hollywood Test Center.

79. On or about April 16, 2018, CHEN paid CW-l $75,000 to participate in the
cheating scheme The money was deposited into The Key’s bank account. CW-l has advised
law enforcement agents that he agreed to provide CHEN with an invoice falsely indicating that
the payment was for “consulting” services for CHEN’s business

80. CHEN’s son scored a 33 out of a possible 36 on the ACT exam.

81. ln a call on or about October 23, 2018, CW-l, acting at the direction of law
enforcement agents told CHEN that CW-l ’s charitable foundation was being audited by the

IRS. The following is an excerpt from the conversation which was consensually recorded.

42

CW-l

CHEN

CW-l

CHEN

CW-l

CHEN

CW-l

CHEN

CW-l

CHEN

82.

And so they’re looking at all the payments that have gone into our foundation

Uh-huh.

So they asked about your payment, which was for [your son], you know, taking
the test that we did for him at [the West Hollywood Test Center], with [CW-2] -

Yeah.

And I’ve said that your payment of $75,000--
Uh-huh.

--went to our foundation to help underserved kids
Uh-huh.

Okay?

Uh-huh.

Shortly after that call, CHEN called CW-l back and said, in substance that the

description on the invoice he had received from CW-l said “consulting service” CHEN asked,

“[W]hat should l say [if the lRS asks]-- consulting service or foundation?” CW-l replied,

“consulting services for the foundation.” CHEN responded, “Okay.”

83.

ln a call on or about February 21 , 2019, CW-l, acting at the direction of law

enforcement agents told CHEN that the IRS audit had been completed The following is an

excerpt from the conversation which was consensually recorded.

CW-l

CHEN

CW-l

CHEN

CW-l

l wanted to call you ’cause l called you before about our audit--
Uh-huh.

--and l wanted to let you know that our audit is over.

Uh-huh.

We’re all okay. And we are okay because so you, you’re not, no issues with you.
So nobody will be contacting you, okay?

43

CHEN

CW-l

CHEN

CW-l

CHEN

CW-l

CHEN

CW-l

CHEN

CW-l

CHEN

CW-l

CHEN

CW-l

CHEN

84.

Okay.

Because your-- the payment that you made we created a fake consulting invoice
that you paid that, instead of making a donation to our foundation

Uh-huh.

So there was no link, for the audit in our foundation because we-- you paid the
$75,000 to my for-profit company--

Uh-huh

--with a fake with a fake consulting invoice So that’s-- that’s why we’re clear.
Oh-huh, okay.

And then the other thing is they asked a question about [CW-2], who took the
test for [your son], and lgor, who was the site coordinator, how come l paid them
from the foundation at the same time that [your son] was taking the test--

Uh-huh.

--and since you paid the for-profit company the $75,000, there was no payment
for the-- as a donation

Uh-huh.

And l think that we are past that. So that we both agree that [CW-Z] took the test
for [your son], right?

Yeah.

And so everything should be fine so I just wanted to make sure that you’re okay
to know that the audit is over, and we should be in good shape

Oh, okay, sounds good.

. ELIZABETH HENRI UEZ and MANUEL HENRI UEZ

Defendants ELIZABETH HENRIQUEZ and MANUEL HENRIQUEZ, a married

couple (together, the “HENRIQUEZES”), are residents of Atherton Califomia. MANUEL

HENRIQUEZ is the founder, chairman and CEO of a publicly traded specialty finance company

based in Palo Alto, Califomia.

44

85. As set forth below, the HENRIQUEZES participated in the college entrance exam
cheating scheme on four separate occasions for their two daughters ln addition the
HENRIQUEZES conspired to bribe Gordon Ernst, the head tennis coach at Georgetown
University, to designate their older daughter as a tennis recruit in order to facilitate her admission
to Georgetown.ll

86. In or about the fall of 201 5, the HENRIQUEZES paid CW-l $25,000 to have
CW-2 purport to proctor their older daughter’s SAT exam, and correct her answers

87. On or about August 19, 2015, CW-l e-mailed CW-2 a round-trip plane ticket
from Tampa, Florida to San Francisco, Califomia. CW-l forwarded the ticket receipt to Steven
Masera, his bookkeeper, with the instruction to bill the ticket to the “Henriquez account.”12

88. At or about the same time CW-l made arrangements for CW-2 to serve as an
exam proctor at the private college preparatory school in Belmont, Califomia, attended by the
HENRIQUEZES’ daughter. On or about September 19, 2015, CW-l e-mailed CW-2: “You are
going to receive an e-mail fi'om the [high school guidance] counselor to tell you what to do with
materials et cetera before responding to her let me know so we can say the right thing.”

89. In a series of e-mails in late September, 2015, CW-2 explained to the
HENRIQUEZES’ daughter’s high school counselor, in sum and substance that he was willing to
fly from Tampa to San Francisco to proctor the exam “because my wife has a new-born,” noting,
“I would really appreciate the opportunity to proctor the test because I’m applying to grad

schools and l could quite frankly use the work.” The counselor responded, “I have you set up to

 

ll Ernst has been indicted by a federal grand jury in the District of Massachusetts on a
charge of racketeering conspiracy, in violation of Title 18, United States Code, Section 1962(d).

12 Masera has been indicted by a federal grand jury in the District of Massachusetts on a
charge of racketeering conspiracy, in violation of Title 18, United States Code, Section 1962(d).

45

proctor and read for [the HENRIQUEZES’ daughter] this coming Saturday, October 3rd at 8:00
a.m.” CW-2 forwarded the e-mail to CW-l, who forwarded it to ELIZABETH HENRIQUEZ
with the note “[CW-2] has the testing covered.”

90. On or about September 28, 2015, CW-l directed Masera to bill the “parents 15k
that is to be written to [CW-l] and goes to my home or personal account 10k to The Key for
Testing Support.”

91. On or about October 2, 2015, CW-2 flew to San Francisco. That same day,
ELIZABETH HENRIQUEZ e-mailed CW-2 directly to “touch base regarding Saturday am
plans.” She arranged to meet CW-2 at her daughter’s high school at 7:15 a.m. the next day.

92. On or about October 3, 2015, CW-2 purported to proctor the exam for the
HENRIQUEZES’ daughter at her school. According to CW-2, unbeknownst to the school, he
sat side-by-side with the daughter during the exam and provided her with answers to the exam
questions and after the exam, he “gloated” with ELIZABETH HENRIQUEZ and her daughter
about the fact that they had cheated and gotten away with it.

93. On or about October 20, 2015, CW-l sent an e-mail instructing Masera to bill
$25,000 to the HENRIQUEZES, with $lS,OOO directed into CW-l ’s personal account On
November 18, 2015, with the invoices still unpaid, CW-l e-mailed ELIZABETH HENRIQUEZ
to inquire about the status of payment ELIZABETH HENRIQUEZ responded: “Manuel set up '
electronic checks when we first received the invoices l will check with him.”

94. On or about November 24, 2015, the Henriquez Family Trust wired $15,000 to
CW-l ’s personal bank account and $10,000 to an account in the name of The Key, After
receiving the funds CW-l caused KWF to pay CW-2 a total of $10,000 in three separate

installments

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